                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                  DISTRICT OF MAINE


 COMCAST OF MAINE/NEW
 HAMPSHIRE, INC., et al.,
        Plaintiffs,
                v.                           CIVIL ACTION NO.: 1:19-cv-00410-NT

 JANET MILLS, in Her Official
 Capacity as the Governor of the State of
 Maine, et al.,
        Defendants.


                      STATE DEFENDANTS’ OPPOSITION TO
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Recognizing that Maine consumers are being forced to purchase expensive packages of

dozens of cable television channels just to get the handful of channels they actually want to

watch, and in light of the financial hardship this poses for many consumers, Maine’s Legislature

enacted P.L. 2019, ch. 308 (“Chapter 308”), which requires cable operators to offer subscribers

the option of individually purchasing cable channels and programs.

       No provision of federal law preempts Chapter 308. The provision plaintiffs principally

rely upon has been authoritatively construed by a federal court of appeals, a federal district court,

and a state appellate court as preempting only those state laws that regulate the content of

programming. Chapter 308 does not regulate content – cable operators and program providers

have complete discretion to select the channels and programs they will make available to

subscribers. Chapter 308 simply requires that once a particular channel or program is selected, it

must be made available individually. To the extent plaintiffs have not waived their claims with

respect to two other provisions of federal law (by not presenting any developed argument), the
claims fail because the provisions do not apply to States. Finally, there is no “conflict

preemption” because cable operators can easily comply with both Chapter 308 and the applicable

provisions of federal law, and Chapter 308 does not stand as an obstacle to accomplishing the

objectives of federal law.

       Plaintiffs argue that Chapter 308 violates their First Amendment rights because it

interferes with their “editorial discretion” to refuse to offer channels and programs individually.

In other words, plaintiffs are claiming that they have a First Amendment right to require

customers to buy HGTV and Animal Planet in order to watch Discovery and to require

customers to buy “NCIS” and “Big Brother” in order to watch “60 Minutes.” There is no First

Amendment right to engage in this bundling, and, unsurprisingly, plaintiffs cite no authority

supporting such a proposition. If, though, the First Amendment were somehow implicated here,

intermediate scrutiny applies, and Chapter 308 passes because it advances the important State

interest of consumer protection and it is sufficiently tailored to further that interest. Because

plaintiffs are thus not likely to succeed on the merits, and because the other relevant criteria are

not met, their motion for a preliminary injunction should be denied.

     Cable Television and the Federal 1984 Cable Act’s Preservation of State Authority

       In 1984, Congress enacted the Cable Communications Policy Act of 1984 (“1984 Cable

Act” or the “Act”) and added Title VI to the Communications Act of 1934. Pub. L. 98-549, 98

Stat. 2779. The House Report recognized that previously, cable television was regulated

primarily “at the local government level through the franchise process,” by which a local

government entity “specified the nature of the cable system to be constructed, the service to be

provided, and the rate which may be charged for those services.” H.R. Rep. No. 98-934, 1984

U.S.C.C.A.N. 4655, 4656 (“House Report”). The House Report also noted that “some States



                                                  2
have laws regulating the terms of what may be included in such a franchise.” Id. Congress

intended that the 1984 Cable Act would establish a “national policy” that would “continue[]

reliance on the local franchising process as the primary means of cable television regulation,

while defining and limiting the authority that a franchising authority may exercise through the

franchise process.” Id. One expressed purpose of the 1984 Cable Act is to “assure that cable

systems are responsive to the needs and interests of the local community.” 47 U.S.C. § 521(2).

         The Act “grants local governments substantial authority to enforce franchise

agreements,” House Report, at 4657, and several provisions in the Act make clear that States

would continue to exercise broad authority over the provision of cable television services. Most

importantly, one provision states: “Nothing in this subchapter shall be construed to prohibit any

State or any franchising authority from enacting or enforcing any consumer protection law, to the

extent not specifically preempted by this subchapter.” 47 U.S.C. § 552(d)(1). Another provision

states: “Nothing in this subchapter shall be construed to restrict a State from exercising

jurisdiction with regard to cable services consistent with this subchapter.” 47 U.S.C. § 556(b). 1

In sum, the 1984 Cable Act retains States’ historic authority to regulate cable television and

protect consumers so long as such regulation is consistent with, and not preempted by, the Act.

                                                    Chapter 308

         During its last session, Maine’s Legislature considered L.D. 832, “An Act to Expand

Options for Consumers of Cable Television in Purchasing Individual Channels and Programs.”

The bill sought to amend 30-A M.R.S. § 3008(3), which imposes certain requirements on cable

television systems, by adding the following provision: “Notwithstanding any provision in a



1
 A third provision states: “Nothing in this subchapter shall be construed to affect any authority of any State,
political subdivision, or agency thereof, or franchising authority, regarding matters of public health, safety, and
welfare, to the extent consistent with the express provisions of this subchapter.” 47 U.S.C. § 556(a).

                                                           3
franchise, a cable system operator shall offer subscribers the option of purchasing access to cable

channels, or programs on cable channels, individually.” L.D. 832 (129th Legis., Feb. 14, 2019).

This is commonly referred to as the “à la carte” option.

        Representative Jeffrey Evangelos, one of sponsors of the bill, explained the basis for it: “I

submitted this bill on behalf of Maine’s hundreds of thousands of cable television subscribers.

For far too long, consumers have been forced to purchase cable TV packages which include

dozens of channels the consumer has no interest in watching.” See Testimony of Rep. Jeffrey

Evangelos, attached hereto as Exhibit A, at 1. Representative Evangelos referenced an FCC

survey “finding that the cost of expanded basic cable has effectively risen from about $25 a

month in 1995 to over $54, greatly exceeding inflation.” Id. He also referenced an FCC report

finding “that the average consumer would save 13 percent on cable bills if he or she could

subscribe only to those channels actually watched.” Id., at 2. 2 Representative Evangelos noted

that cable operators are already offering some à la carte options. Id. Finally, he referenced the

“plight of a senior citizen on fixed income, who would like to watch sports or classic movies.”

Id. The appropriate cable package costs approximately $100 per month, which, for a senior

living on $800 per month in Social Security benefits, “amounts to almost 12.5% of that senior

citizen’s income, effectively pricing them out of the market.” Id. On the other hand, “[a]n à la


2
  The report, entitled “Further Report on the Packaging and Sale of Video Programming Services to the Public,”
dated February 9, 2006 (“Further Report”), is available at https://www.fcc.gov/document/further-report-packaging-
and-sale-video-programming-services, and an FCC press release and “fact sheet” regarding the Further Report is
attached hereto as Exhibit B. An earlier FCC report (which plaintiffs and amicus Motion Picture Association cite
to) had found that à la carte requirements would increase prices and reduce programming diversity. The Further
Report (which plaintiffs and amicus Motion Picture Association do not mention) concluded that the earlier report
made calculation mistakes and “relied on problematic assumptions and presented incorrect and biased analysis.”
Further Report, at 3. The Further Report found that correcting for the earlier report’s mistake, “a consumer
purchasing 11 cable channels would face a change in his bill ranging from a 13% decrease to a 4% increase, with a
decrease in 3 out of 4 cases.” Id., at 4 (emphasis in original). An average cable household watches 17 channels, and
under à la carte, and assuming six broadcast stations, consumers could receive as many as 20 channels without
seeing an increase in their bills. Id. The Further Report concluded that an à la carte regime “could give consumers
the opportunity to lower their cable bills by purchasing fewer channels or smaller packages” and that “many
consumers could be better off under an à la carte model. Id., at 5.

                                                         4
carte option would allow this person to select a few favorite channels and enjoy programming

that fits [her or her] budget.” Id.

        The Office of the Public Advocate (“OPA”) testified that

        It is the experience of the OPA that a great deal of consumers experience a high
        level of frustration with their cable providers. They feel that they lack choices
        and being able to select the channels they want and not have to pay for channels
        they do not watch and do not want would be highly favorable. . . . The OPA
        supports consumer choice and appreciates customers’ frustration with not being
        able to choose and pay only for certain channels they actually watch. LD 832
        would go a long way in an attempt to remedy the lack of consumer choice in the
        cable marketplace in Maine.

See Testimony of the OPA, attached hereto as Exhibit C, at 1. The OPA testified neither for nor

against the bill, however, apparently because of a concern the bill could be preempted. Id., at 1-

2. Subsequently, however, the OPA sent a letter to the FCC asking whether LD 832 would be

preempted by federal law. See Letter dated March 27, 2019, attached hereto as Exhibit D. On

May 7, 2019, the Chief of the FCC’s Consumer and Governmental Affairs Bureau responded:

“This poses a question of first impression and we could not locate any specific Commission

ruling that addresses your exact issue. Thus, we are not in a position to express an opinion on

the question you raise.” See FCC Letter, attached hereto as Exhibit E. So, while the plaintiffs

claim that Chapter 308 is “clearly preempted by federal law,” PI Motion, at 7, the FCC is not so

sure.

        The House and Senate passed LD 832, and it became law on June 15, 2019 as Chapter

308 of the Public Laws of 2019.

                                            Argument

                   I. The Plaintiffs are Not Likely to Succeed on the Merits.

        Plaintiffs correctly identify the four factors to be considered when deciding whether to

issue a preliminary injunction. PI Motion, at 6. It should be added, though, that “[t]he sine qua

                                                 5
non of this four-part inquiry is likelihood of success on the merits: if the moving party cannot

demonstrate that he is likely to succeed in his quest, the remaining factors become matters of idle

curiosity.” New Comm Wireless Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002).

Here, plaintiffs are not likely to succeed on their preemption or First Amendment claims.

                      A. Chapter 308 is Not Preempted by the 1984 Cable Act.

                     1.   There is a Presumption Against Preemption and Express
                           Preemption Provisions Must be Narrowly Construed.

       The Supremacy Clause, U.S. Const., Art. VI, cl. 2, invalidates state laws that “interfere

with, or are contrary to,” federal law. Gibbons v. Ogden, 22 U.S. 1, 211 (1824). “Preemption is

strong medicine, not casually to be dispensed.” Grant's Dairy--Maine, LLC v. Commissioner of

Maine Dept. of Agriculture, Food & Rural Resources, 232 F.3d 8, 18 (1st Cir. 2000).

“Consideration of issues arising under the Supremacy Clause ‘start[s] with the assumption that

the historic police powers of the States [are] not to be superseded by . . . Federal Act unless that

[is] the clear and manifest purpose of Congress.’” Cipollone v. Liggett Grp., Inc., 505 U.S. 504,

516 (1992) (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).

       Federal law may supersede state law in three different ways: 1) Congress can include

language in the law that expressly preempts certain state laws; 2) the law can create a scheme of

regulation that is so comprehensive that it essentially “occupies the field” and leaves no room for

state regulation; or 3) the state law actually conflicts with federal law. See, e.g., Hillsborough

County, Florida. v. Automated Medical Laboratories, Inc., 471 U.S. 707, 713 (1985). The

plaintiffs argue only that express and conflict preemption apply here.

       “Express preemption occurs when Congress states in the text of legislation that it intends

to preempt state legislation in the area.” EEOC v. Massachusetts, 987 F.2d 64, 67-68 (1st Cir.

1993); see also Grant's Dairy--Maine, 232 F.3d at 15 (“Express preemption occurs only when a

                                                  6
federal statute explicitly confirms Congress's intention to preempt state law and defines the

extent of that preclusion.”).

        Two presumptions inform the process of determining the scope of an express
        preemption clause. First, the familiar assumption that preemption will not lie
        absent evidence of a clear and manifest congressional purpose must be applied not
        only when answering the threshold question of whether Congress intended any
        preemption to occur, but also when measuring the reach of an explicit preemption
        clause. Second, while the scope determination must be anchored in the text of the
        express preemption clause, congressional intent is not to be derived solely from
        that language but from context as well.

Massachusetts Ass'n of Health Maint. Organizations v. Ruthardt, 194 F.3d 176, 179 (1st Cir.

1999) (emphasis in original, citation omitted). Because of the presumption against preemption,

express preemption provisions must be narrowly construed. See Medtronic, Inc. v. Lohr, 518

U.S. 470, 485 (1996); Air Conditioning & Refrigeration Inst. v. Energy Res. Conservation &

Dev. Comm'n, 410 F.3d 492, 496 (9th Cir. 2005) (“This presumption against preemption leads us

to the principle that express preemption statutory provisions should be given a narrow

interpretation.”).

        Under “conflict preemption,” “state law is preempted to the extent that it actually

conflicts with federal law.” Pacific Gas and Elec. Co. v. State Energy Resources Conservation

& Development Com'n, 461 U.S. 190, 204 (1983). “Such a conflict arises when ‘compliance

with both federal and state regulations is a physical impossibility’ or where state law ‘stands as

an obstacle to the accomplishment and execution of the full purposes and objectives of

Congress.’” Id. (quoting Florida Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142-43

(1963)). The presumption against preemption applies to conflict preemption just as it does to

express preemption. Wyeth v. Levine, 555 U.S. 555, 565 n.3 (2009).




                                                 7
              2. Chapter 308 Is Not Expressly Preempted By 47 U.S.C. § 544(f)(1).

        Plaintiffs first argue that Chapter 308 is expressly preempted by a provision in the 1984

Cable Act stating: “Any Federal agency, State, or franchising authority may not impose

requirements regarding the provision or content of cable services, except as expressly provided

in this subchapter.” 47 U.S.C. § 544(f)(1). Plaintiffs argue that because no provision of Title VI

authorizes States to impose à la carte requirements, Section 544(f)(1) preempts Chapter 308. PI

Motion, at 7-9. The flaw in this argument is that Section 544(f)(1) is not nearly as broad as

plaintiffs claim. Rather, as the D.C. Circuit Court of Appeals, a federal district court, and a state

appellate court have all held, this provision applies only to regulations of the content of

programming.

        At issue in United Video, Inc. v. FCC, 890 F.2d 1173 (D.C. Cir. 1989) were rules issued

by the FCC relating to syndicated television programs. Suppliers of such programs grant

licenses to local television stations to show the programs in their local broadcast areas. Id., at

1176. Cable television operators, however, had the ability to receive the broadcasts from local

stations and then retransmit the broadcasts to their customers in other areas. Id. The FCC’s rules

(called the “syndex rules”) permitted local broadcasters to forbid cable operators from

retransmitting syndicated programs into their local broadcast areas. Id.

        The cable operators challenged the syndexs rule on several grounds, including that the

FCC was precluded by Section 544(f) from issuing them. Id., at 1187. Finding that Section

544(f) was ambiguous, the Court referred to the legislative history. Id., at 1188. The court noted

that the House report “explains the context in which Congress adopted Section 544(f).” Id., at

1188.

        It had been the practice of local franchising authorities, in granting cable
        franchises, to specify in great detail the type of facilities that the operator must

                                                   8
         construct, and also to specify “the services that the operator must provide (e.g.,
         Cable News Network, HBO, The Health Channel).” H.R.Rep. No. 934, 98th
         Cong., 2d Sess. 26, reprinted in 1984 U.S.Code Cong. & Admin.News 4655,
         4663. Congress determined that local governments should have the power to
         require particular cable facilities, but “the Committee does not believe it is
         appropriate for government officials to dictate the specific programming to be
         provided over a cable system.” Id. This historical context supports the
         Commission's belief that when Congress forbade “requirements regarding the
         provision or content of cable services,” its concern was with rules requiring cable
         companies to carry particular programming.

Id.. The court stated:

         [T]he examples given in the House report suggest that the key is whether a
         regulation is content-based or content-neutral. Section 544(f), one must note, does
         not simply forbid “requirements”; it forbids “requirements regarding the provision
         or content of cable services” (emphasis added). The House report suggests that
         Congress thought a cable company's owners, not government officials, should
         decide what sorts of programming the company would provide. But it does not
         suggest a concern with regulations of cable that are not based on the content of
         cable programming, and do not require that particular programs or types of
         programs be provided. Such regulations are not requirements “regarding the
         provision or content” of cable services.

Id., at 1189. The court held that while the syndex rules “will certainly affect the content of cable

programming, it is content-neutral” and is thus “clearly different from a requirement or

prohibition of the carriage of a particular program or channel.” Id. 3 Thus, Section 544(f) did

not prohibit the FCC from issuing the syndex rule. Id., at 1189-90. 4

         In Storer Cable Commc'ns v. City of Montgomery, Ala., 806 F. Supp. 1518 (M.D. Ala.

1992), a city enacted two ordinances, including one which essentially prohibited program

suppliers and cable operators from entering into exclusive agreements with respect to


3
  As a hypothetical of a requirement that would not be preempted, the court posited a local franchising authority
requiring that a cable operator provide service seven days of week, despite that the company might prefer to provide
service on fewer days. Id., at 1189. The court said that such a result would not dictate specific programming and
would not implicate Section 544(f). Id.
4
  The FCC had not argued that Section 544(f) applies only to content-based regulations but instead had argued that it
applies only to regulations that impose affirmative requirements on cable operators and not on ones that impose
prohibitions. Id., at 1187-88. The court rejected this “affirmative/negative distinction” but upheld the FCC’s rules
on the alternate ground, discussed above, that Section 544(f) does not apply to regulations that are not based on
programming content. Id., at 1187-90.

                                                         9
programming content. Id., at 1527. A cable operator and program suppliers argued, among

other things, that the ordinance was preempted by Section 544(f). The court noted that

“[a]lthough the language of subsection (f) is susceptible to a broad reading,” the D.C. Circuit’s

decision in United Video gave the provision “quite a narrow scope.” Id., at 1545. The court was

“persuaded by the [D.C. Circuit’s] analysis of the legislative history and by the court's

conclusion that § 544(f)'s concern is with ‘content-based rules’ which require or forbid cable

providers from carrying particular programming.” Id., at 1544. The court stated:

         The ordinance does not require or forbid anyone, Storer Cable or Montgomery
         Cablevision, to carry certain programming. To the extent that it might require the
         plaintiffs to license programming, it would do so on basis of the market effects of
         the targeted licenses, not on the content of programming. The ordinance would
         not, even under these conditions, interfere with the editorial decisions of the
         plaintiffs by telling them what programming they can or cannot provide to the
         public. The plaintiffs have never suggested, here or within the context of their
         first amendment challenge to this ordinance, that the purpose or effect of
         Ordinance 48–90 is to suppress a particular message or viewpoint. For these
         reasons, Ordinance 48–90 is not preempted by subsection (f) of § 544.

Id., at 1546. 5

         In Morrison v. Viacom, Inc., 61 Cal. Rptr.2d 544 (Cal. Ct. App. 1997), plaintiffs alleged

that a cable provider was restraining trade in violation of state law by tying the purchase of

channels – the provider required customers to purchase broadcast channels in order to purchase

satellite cable channels and required customers to purchase both broadcast channels and satellite

cable channels to purchase premium channels. Id., at 547. The cable provider argued that

plaintiffs’ cause of action was preempted by, among other things, Section 544(f). Id., at 555.




5
  In so holding, the court rejected the plaintiffs’ argument that the analysis in United Video applies only to FCC
regulations and not local ordinances. Id., at 154 n.24. The court found the argument “meritless,” noting that Section
544(f) applies equally to federal agencies, states, and franchising authorities and that the relevant issue in United
Video was whether the regulation at issue there was “a requirement regarding the provision or content of cable
services.” Id. It is impossible to see how this analysis would differ depending on the identity of the regulatory
authority.

                                                         10
The court found that United Video and Storer Cable “support the conclusion that section 544(f)

targets regulation of the content of cable services.” Id., at 556. The court held that because the

“anti-tying” provisions of the state law at issue “do not seek to regulate the content of cable

services, they are not preempted by section 544(f).” Id., at 556. 6

         Just like the regulations at issue in United Video, Storer, and Morrison, Chapter 308 does

not regulate the content of cable services. In fact, it is similar to the “anti-tying” provisions at

issue in Morrison. Cable companies are free to provide (or not provider) whatever channels and

programs they choose. All Chapter 308 requires is that once a cable operator elects to provide a

particular channel or program, it must allow subscribers the option of purchasing that channel or

program individually. Just like the syndex rules at issue in United Video, Chapter 308 “does not

require carriage of any particular program or type of program, nor does it prevent a cable

company from acquiring the right to present, and presenting, any program.” 890 F.2d at 1189.

         The cases cited by plaintiffs are inapposite. At issue in Lafortune v. City of Biddeford,

No. 01-250-P-H, 2002 WL 823678 (D. Me. Apr. 30, 2002), was a franchising authority’s policy

that arguably required show producers to obtain written releases from any individual (other than

public officials) mentioned in the show. Id., at *8. The court held that such a requirement would

confer on the individuals “veto power over some of the content of that program.” Id. Again,

though, Chapter 308 does not regulate content.

         In Cablevision Sys. Corp. v. Town of East Hampton, 862 F. Supp. 875 (E.D.N.Y. 1994), a

town sought to revoke a cable operator’s franchise because, among other things, it had



6
  It is important to note that while the three cases discussed above expressly rejected arguments that Section 544(f)
goes beyond preempting the regulation of the content of cable services, two cases have suggested that Section 544(f)
is limited to content regulation. See Motion Picture Ass'n of Am., Inc. v. FCC, 309 F.3d 796, 805 (D.C. Cir. 2002)
(citing Section 544(f) for the proposition that “Congress has imposed limitations on regulations implicating program
content”); Fox News Network, L.L.C. v. Time Warner Inc., 962 F. Supp. 339, 342 (E.D.N.Y. 1997) (citing Section
544(f) for the proposition that “the Cable Act explicitly protects the programming decisions of cable operators”).

                                                         11
eliminated a tier of channels it previously offered to subscribers. The court held that 47 U.S.C. §

544(a) preempted the town’s attempt to prevent elimination of a tier of channels. Id., at 886.

The court did not so much as mention Section 544(f), so it is not clear why plaintiffs contend this

case supports their argument. 7

        In Time Warner Cable of New York City v. City of New York, 943 F. Supp. 1357

(S.D.N.Y. 1996), New York City placed Bloomberg Information Services on one of its public,

educational and governmental use (“PEG”) channels and was preparing to put Fox News on

another PEG channel. Pursuant to the 1984 Cable Act, “[a] franchising authority may establish

requirements in a franchise with respect to the designation or use of channel capacity for public,

educational, or governmental use only to the extent provided in this section.” 47 U.S.C. §

531(a). The court rejected New York’s argument that “governmental use” meant any use

whatsoever by a government and instead held that it meant programming intended to show the

public the workings of local government. Id., at 1386-89. The court held that the City thus

violated Section 531(a) by placing commercial programming on its PEG channels. Id., at 1389.

The court also held that the City violated the cable operator’s First Amendment right “to be free

from government interference with its programming decisions.” Id., at 1399. The court found

that the City “acted to compel [the cable operator] to add Fox News to its system of commercial

channels and that these actions have had a direct, immediate, and chilling effect on Time

Warner's exercise of its constitutionally-protected editorial discretion.” Id.

        The court also held that the City violated Section 544(f) and stated that its analysis of the

issue “is substantially the same as for a violation of the First Amendment;” so for the same


7
  In Morrison v. Viacom, the plaintiffs similarly argued that Town of East Hampton supported their argument that
Section 544(f) preempted the “anti-tying” requirement. 61 Cal. Rptr.2d at 556. The Morrison court held that “Town
of East Hampton does not advance respondent's argument that this case is preempted by section 544(f) for several
reasons. First and foremost, Town of East Hampton did not discuss or even refer to section 544(f).” Id..

                                                       12
reasons that the City violated the First Amendment, it violated Section 544(f)(1). Id., at 1391. If

anything, then, this case demonstrates Section 544(f)’s narrow scope of preventing governmental

entities from interfering with the content of cable programming by, for example, forcing a cable

operator to carry particular content. Again, though, Chapter 308 does not interfere with cable

content – it simply requires cable operators to offer individually those channels and programs

they choose to carry.

   3. Plaintiffs Have Waived Their Argument Regarding 47 U.S.C. §§ 544(a) and 544(b)(1),
          But, In Any Event, These Provisions Do Not Expressly Preempt Chapter 308.

       Section 544(a) prohibits franchising authorities from regulating the “services” of a cable

operator and Section 544(b)(1) prohibits them from “establish[ing] requirements for video

programming.” Plaintiffs offer no support for their claim that an à la carte mandate is a

regulation of “cable services” or a requirement for “video programming.” PI Motion, at 8-9. In

fact, plaintiffs’ entire discussion of Sections 544(a) and 544(b)(1) are contained in just four

sentences of their twenty-page brief. Any argument about these two provisions should be

deemed waived. See Int'l Ass'n of Machinists & Aerospace Workers v. Verso Corp., 121 F.

Supp. 3d 201, 229 (D. Me. 2015) (“Lack of developed arguments are commonly deemed

waived.”); see also United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (referring to

appellate rule that “issues adverted to in a perfunctory manner, unaccompanied by some effort at

developed argumentation, are deemed waived”).

       Regardless, Sections 544(a) and 544(b)(1) do not expressly preempt Chapter 308.

Assuming for the sake of argument that the à la carte requirement regulates “cable services” or

“video programming,” both provisions apply only to franchising authorities. They do not apply

to States. In contrast, other provisions in Section 544 do clearly apply to States. 47 U.S.C. §§

544(e) (prohibiting States from regulating subscriber equipment and transmission technology);

                                                 13
544(f)(1) (prohibiting States from imposing “requirements regarding the provision or content of

cable services”). Congress clearly understood how to make a preemptive provision applicable to

States, and it did not do so with respect to Sections 544(a) and 544(b)(1). 8

            4. Chapter 308 Is Not in Conflict With Any Provision of the 1984 Cable Act.

         Plaintiffs argue that Chapter 308 is also preempted because “it impermissibly conflicts

with federal law, by making compliance with both federal law and [Chapter 308] impossible and

by imposing an obstacle to the accomplishment of federal objectives.” PI Motion, at 9.

Specifically, plaintiffs note that the 1984 Cable Act requires them to provide the signals of

certain “must-carry” stations, and that FCC rules “further direct that must-carry stations be

‘provided to every subscriber of a cable system.’” Id., at 9-10 (quoting 47 C.F.R. § 76.56(d)(1);

see also 47 U.S.C. § 543(b)(7) (“Each cable operator of a cable system shall provide its

subscribers a separately available basic service tier to which subscription is required for access to

any other tier of service” and “[s]uch basic service tier, shall, at a minimum,” include local

broadcast and PEG stations). Plaintiffs argue that “[c]able operators cannot comply with both

this federal must-carry requirement and the à la carte mandate of [Chapter 308], which

effectively prohibits cable operators from requiring Maine subscribers to purchase must-carry

stations as part of the basic tier.” Id., at 10.

         The Attorney General, though, does not interpret Chapter 308 as allowing consumers to

purchase à la carte channels and programs without first subscribing to the mandatory basic tier. 9


8
  Plaintiffs argue that these provisions are preempted because franchising authorities can enforce Chapter 308. PI
Motion, at 8 & n.5 (citing 30-A M.R.S. § 3008(3)(E)). But Section 544(a) and 544(b)(1) apply only when a
franchising authority regulates or establishes requirements. Nothing suggests that they would also apply if a
franchising authority simply enforces a regulation or requirement established by a State. And even if they did apply,
that would mean, at most, that franchising authorities might be prevented from enforcing Chapter 308. Section
544(a) and 544(b)(1) do not stop the State from enacting and enforcing the law.
9
  “In evaluating a facial challenge to a state law, a federal court must, of course, consider any limiting construction
that a state court or enforcement agency has proffered.” Village of Hoffman Estates v. Flipside, Hoffman Estates,
Inc., 455 U.S. 489, 494 n.5 (1982); see also Nat'l Org. for Marriage v. McKee, 649 F.3d 34, 66 (1st Cir. 2011)

                                                          14
The law requires cable operators to “offer subscribers the option of purchasing access to cable

channels, or programs on cable channels, individually.” Chapter 308, § 1 (emphasis added). So,

one first must become a subscriber (and receive all of the stations that cable operators are

required to provide to subscribers) before one can then purchase additional channels and

programs individually. There is, then, no risk that complying with Chapter 308 will make it
                                                                                   10
impossible for cable operators to comply with the 1984 Cable Act.

 5. Chapter 308 Is Not an Obstacle to the Accomplishing the Objectives of the 1984 Cable Act.

         Plaintiffs’ argument that Chapter 308 is an obstacle to the purposes and objectives of the

1984 Cable Act is not entirely clear. To the extent plaintiffs are arguing that the law would

interfere with Congress’s goal of ensuring delivery to subscribers of must-carry stations, the

argument fails because, as discussed above, Chapter 308 does not interfere with the must-carry

provisions. To the extent plaintiffs argue that Chapter 308 interferes with Congress’s goal of a

“national policy concerning cable communications,” PI Motion, at 10, plaintiffs ignore that

Congress expressly reserved to States the power to regulate in this area, including, in particular,

with respect to consumer protection laws, unless “specifically preempted” by the 1984 Cable

Act. 47 U.S.C. § 552(d)(1). For the reasons discussed above, no provision of the Act

specifically preempts Chapter 308.

         Plaintiffs vaguely argue that the “regulatory framework” of the 1984 Cable Act preserves

their “editorial discretion” to choose whether to deliver content “in tiers of programming, à la

carte, or both,” PI Motion, at 10-11. Again, though, no specific provision preserves that


10
   Because of the manner in which Chapter 308 operates, there is no reason for amici National Association of
Broadcasters and Maine Association of Broadcasters to worry. Amici – who include operators of broadcast
television stations in Maine – are concerned that their viewership will drop if cable operators are no longer required
to carry their signals as part of the federally-mandated basic service tier. Amici Brief, at 2. For the reason discussed
above, Chapter 308 does not impact this basic tier. Again, before a person may request individual channels and
programs, one must first become a subscriber. And becoming a subscriber necessarily means obtaining the
federally-required basic tier of service, including local broadcast stations and PEG channels.

                                                          15
authority, nor is there anything to suggest that Congress intended such a result. Rather, Congress

preserved cable operators’ discretion to decide what programming they will, and will not,

provide. See 47 U.S.C. § 544(f)(1). And, as discussed above, Chapter 308 does not limit that

discretion.

              B. Chapter 308 Does Not Violate Plaintiffs’ First Amendment Rights.

       The plaintiffs claim that they have a right under the First Amendment to

“decide not to offer programming on an à la carte basis.” PI Motion, at 11. The First

Amendment affords no such right. The “essential right” of free expression conferred by the First

Amendment is contravened by “Government action that stifles speech on account of its message,

or that requires the utterance of a particular message favored by the Government.” Turner

Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641 (1994) (“Turner I”). Chapter 308 neither stifles nor

requires speech. Programming providers remain free to decide what programs they supply to

cable operators, and cable operators remain free to decide what stations and programs they will

carry on their systems. All that Chapter 308 requires is that once a cable operator decides to

carry a particular station or program, it must make that station or program available individually.

       Plaintiffs cite no case supporting the notion that they have a First Amendment right to

bundle channels and programs. The closest they come is Turner Broadcasting Sys., Inc. v. FCC,

512 U.S. 622 (1994) (“Turner I”) and Turner Broadcasting Sys., Inc. v. FCC. 520 U.S. 180

(1997) (“Turner II”). At issue in those cases was whether provisions of federal law requiring

cable operators to carry local broadcast stations (referred to as “must-carry provisions”) violated

the First Amendment rights of cable operators and program providers. Considering first whether

protected conduct was at issue, the Court in Turner I that “[t]hrough original programming or by

exercising editorial discretion over which stations or programs to include in its repertoire, cable



                                                 16
programmers and operators see[k] to communicate messages on a wide variety of topics and in a

wide variety of formats.” 512 U.S. at 636 (citation and internal quotations omitted). In Turner

II, the Court stated that the must-carry provisions implicate the First Amendment because they

“restrain cable operators' editorial discretion in creating programming packages by reducing the

number of channels over which they exercise unfettered control.” 520 U.S. at 214 (citation,

internal quotations, and brackets omitted). In other words, the Court was simply saying that

cable operators, who are not the actual creators of the “speech” (i.e., the individual programs)

nevertheless engage in First Amendment conduct by deciding, through their selection of

channels and programs, what speech they will present to their customers. See United States

Telecom Ass'n v. FCC, 855 F.3d 381, 391 (D.C. Cir. 2017) (“a cable operator draws the

protections of the First Amendment when it exercises editorial discretion about which

programming to carry”) (per curiam decision on petition for hearing en banc). Regulations that

limit the ability of cable operators to make such decisions thus implicate the First Amendment.

In neither Turner I nor Turner II did the Court suggest that cable operators not only have a First

Amendment right to decide what programs and channels to show, but also the right to condition

the purchase of some programs and channels on the purchase of others. Nor does either case

suggest that program providers have a protected First Amendment right to bundle programs.

       Because Chapter 308, by simply requiring the unbundling of channels and programs,

does not implicate the First Amendment, the Court need go no further. If, though, the Court

were to engage in a First Amendment analysis, it is intermediate, not strict, scrutiny that applies.

Strict scrutiny applies to a content-based speech restriction. See, e.g., United States v. Playboy

Entm't Grp., Inc., 529 U.S. 803, 813 (2000). A content-neutral regulation, on the other hand, is

subject to intermediate scrutiny and will survive a First Amendment challenge “if it advances



                                                 17
important governmental interests unrelated to the suppression of free speech and does not burden

substantially more speech than necessary to further those interests.” Turner II, 520 U.S. at 189.

       As a general rule, laws that by their terms distinguish favored speech from
       disfavored speech on the basis of the ideas or views expressed are content based.
       By contrast, laws that confer benefits or impose burdens on speech without
       reference to the ideas or views expressed are in most instances content neutral.

Turner I, 512 U.S. at 643 (citations omitted); see also Reed v. Town of Gilbert, Ariz., 135 S. Ct.

2218, 2227 (2015) (“Government regulation of speech is content based if a law applies to

particular speech because of the topic discussed or the idea or message expressed.”); Ward v.

Rock Against Racism, 491 U.S. 781, 791 (1989) (“A regulation that serves purposes unrelated to

the content of expression is deemed neutral, even if it has an incidental effect on some speakers

or messages but not others.”). Facially content-neutral laws “will be considered content-based

regulations of speech” if they “cannot be ‘justified without reference to the content of the

regulated speech,’ or were adopted by the government ‘because of disagreement with the

message [the speech] conveys.’” Reed, 135 S. Ct. at 2227 (quoting Ward, 491 U.S. at 791).

       In Turner I, the Supreme Court held that the must-carry provisions were content neutral,

and, for all the same reasons, so to is Chapter 308. The Court began by recognizing that the

must-carry provisions “impose burdens and confer benefits without reference to the content of

speech. Although the provisions interfere with cable operators' editorial discretion by

compelling them to offer carriage to a certain minimum number of broadcast stations, the extent

of the interference does not depend upon the content of the cable operators' programming.” 512

U.S. at 643-44. The Court held that the fact that the must-carry provisions singled out certain

categories of speakers did not make them subject to strict scrutiny:

       It is true that the must-carry provisions distinguish between speakers in the
       television programming market. But they do so based only upon the manner in
       which speakers transmit their messages to viewers, and not upon the messages

                                                18
         they carry: Broadcasters, which transmit over the airwaves, are favored, while
         cable programmers, which do not, are disfavored. Cable operators, too, are
         burdened by the carriage obligations, but only because they control access to the
         cable conduit. So long as they are not a subtle means of exercising a content
         preference, speaker distinctions of this nature are not presumed invalid under the
         First Amendment.

Id., at 645. 11 The Court stated that “speaker-partial laws” are subject to strict scrutiny “when

they reflect the Government's preference for the substance of what the favored speakers have to

say (or aversion to what the disfavored speakers have to say).” Id., at 658. The Court held that

that the must-carry provisions did not reflect a preference for the content of broadcast stations’

programming content, so “the fact that the provisions benefit broadcasters and not cable

programmers does not call for strict scrutiny under our precedents.” Id., at 659.

         The Court rejected the argument that strict scrutiny applied because the must-carry

provisions applied only to cable operators and not to “analogous video delivery systems, such as

multichannel multipoint distribution (MMDS) systems and satellite master antenna television

(SMATV) systems.” Id., at 659. The Court stated that “[i]t would be error to conclude . . . that

the First Amendment mandates strict scrutiny for any speech regulation that applies to one

medium (or a subset thereof) but not others.” Id., at 660. Rather, laws that “single[] out a certain

medium” are “‘constitutionally suspect only in certain circumstances.’” Id., at 660 (quoting

Leathers v. Medlock, 499 U.S. 439, 444 (1991)). Those circumstances are when the singling out

of speakers raises the suspicion that the objective is “the suppression of certain ideas.” Id; see

also Leathers, 499 U.S. at 447 (“These cases demonstrate that differential taxation of First

Amendment speakers is constitutionally suspect when it threatens to suppress the expression of

particular ideas or viewpoints.”); Time Warner Cable Inc. v. FCC, 729 F.3d 137, 159 (2d Cir.


11
  The Court recognized that a facially content-neutral regulation may be content based if “its manifest purpose is to
regulate speech because of the message it conveys,” but it held that the purpose of the must-carry provisions was
unrelated to the content of expression. Id., at 645-47.

                                                         19
2013) (holding that regulation preferring certain speakers over others was subject to intermediate

scrutiny because preference was not based on content of speakers).

         When the differential treatment is justified by some other “special characteristic,”

heightened scrutiny is unwarranted. Id., at 660-61. The Court found that the must-carry

provisions were justified by the “bottleneck monopoly” exercised by cable operators. Id., at 661.

The Court further found that the must-carry provisions were “broad based” because they applied

to almost all cable systems and did not pose “the same dangers of suppression and manipulation

that were posed by the more narrowly targeted regulations” at issue in other cases. Id. The

Court concluded that “the must-carry provisions do not pose such inherent dangers to free

expression, or present such potential for censorship or manipulation, as to justify application of

the most exacting level of First Amendment scrutiny” and that the “appropriate standard by

which to evaluate the constitutionality of must-carry is the intermediate level of scrutiny

applicable to content-neutral restrictions that impose an incidental burden on speech.” Id., at

661-62. 12

         If a law forcing cable operators to carry stations they do not want to carry is subject to

intermediate scrutiny, it is impossible to see how Chapter 308, which simply requires cable

operators to offer individually those stations and programs they choose to carry, is not also

subject to intermediate scrutiny (if it is subject to First Amendment scrutiny at all). When it

comes to content, Chapter 308 is indifferent. It does not, for example, declare that cable

operators must offer only news programs individually. Chapter 308 fully preserves the “editorial

discretion” of cable operators to pick and choose the channels and programs they carry. Only


12
  The Court found that because there were genuine issues of fact, it could not determine whether the must-carry
provisions satisfied intermediate scrutiny, and it remanded the case for further proceedings. Id., at 668. After
further factfinding, the Court held that the must-carry provisions satisfied intermediate scrutiny because they were
narrowly tailored to further important governmental interests. Turner II, 520 U.S. at 185.

                                                         20
after an operator has chosen to carry a particular channel or program must it then make it

available individually. The fact that Chapter 308 applies only to cable operators and not, for

example, to satellite television providers, does not make it content-based. First, there is nothing

to suggest that Maine is somehow favoring what satellite operators “say” over what cable

operators “say.” In fact, it is likely that they “say” the exact same things – presumably, the

channels and programs carried by satellite operators are substantially the same as those provided

by their cable counterparts. But even if there are some differences, there is nothing to suggest

that those differences were a motivation for Chapter 308. 13 Maine’s Legislature identified a

problem with cable operators – they were forcing consumers to buy a host of channels they did

not want just to get the few they did want. Chapter 308 does not reflect any preference with

respect to programming content on cable television versus the content on satellite television. 14

         “Speaker-based” laws are not some additional category of laws subject to strict scrutiny.

Rather, as discussed above, such laws simply raise the suspicion that the government is

attempting to suppress (or promote) certain messages. In other words, that a law targets certain

speakers raises the suspicion that the law, while seemingly facially neutral, it is, in fact, content

based. Here, though, there is no reason for such a suspicion. As discussed above, it is

inconceivable how a law directed at cable operators is somehow intended to promote or suppress

certain content. In sum, if the First Amendment even applies to Chapter 308, it is subject to

intermediate scrutiny.

         Chapter 308 passes this test. First, it advances the important State interest of ensuring

that consumers have meaningful access to cable television. As the legislative history set forth


13
   For example, there is no evidence that Chapter 308 applies only to cable operators because cable operators tend to
show channels and shows of a particular political “bent” with which Maine disagrees.
14
   If what the plaintiffs are arguing is that there is no rational basis for treating satellite and cable companies
differently, that is an Equal Protection issue. But, plaintiffs make no Equal Protection challenge to Chapter 308.

                                                         21
above makes clear, Chapter 308 furthers Maine’s interest in protecting consumers by preventing

cable operators from forcing them to purchase expensive packages containing dozens of channels

simply to obtain the few channels they want to watch. See Arkansas Elec. Co-op. Corp. v.

Arkansas Pub. Serv. Comm'n, 461 U.S. 375, 377 (1983) (“the regulation of utilities is one of the

most important of the functions traditionally associated with the police power of the States”);

Ohralik v. Ohio State Bar Ass'n, 436 U.S. 447, 460 (1978) (state interests in “protecting

consumers and regulating commercial transactions” are “particularly strong”); Communications

Telesystems Int'l v. California Pub. Util. Comm'n, 196 F.3d 1011, 1017 (9th Cir. 1999) (the

“protection of consumers from unfair business practices” is an important state interest). Indeed,

in the 1984 Cable Act itself, Congress recognized the importance of the States’ interest in

protecting consumers from cable operators by expressly preserving the States’ authority to enact

and enforce consumer protection laws, to the extent not preempted by the Act. 47 U.S.C. §

552(d)(1).

        While plaintiffs claim that “numerous studies” show that an à la carte requirement would

likely result in higher prices, PI Motion, at 14, they cite to just one report. 15 And even that one

– a report from the General Accounting Office, stated only that “it is possible that cable rates

could actually increase for some consumers” and that it is “difficult to ascertain how many

consumers would be better off and how many would be made worse off under an à la carte

approach.”)



15
   In testifying before a legislative committee in opposition to Chapter 308, a Charter Communications
representative stated: “There have been many academic and government studies over the past few years which
concluded that an à la carte model . . . would result in higher costs and less diversity in programming for
consumers.” See Testimony of Melinda Kinney, attached hereto as Exhibit I. A legislator asked the representative to
provide citations to these studies, and the representative indicated that she would, but it appears that no such
citations were ever provided to the committee. See http://legislature.maine.gov/Audio/#211?event=77611&
startDate=2019-03-05T13:00:00-05:00 (recording of Committee Hearing, at timestamp 2:47 pm.); Committee File
on LD 832, available at Maine State Law and Legislative Reference Library.

                                                        22
See GAO Report No. 04-8 (2003), available at https://www.gao.gov/new.items/d048.pdf, at 30,

34. 16

             Plaintiffs argue that Chapter 308 is overinclusive because it “mandate[s] à la carte

options for every channel and individual program offered by a cable operator.” PI Motion, at 14-

15 (emphasis in original). Of course, as discussed above, one of the reasons that the law is not

content-based is that it does not target specific channels or programs. Moreover, the problem the

Legislature identified is that consumers cannot purchase just those channels and programs they

want to watch. It is impossible to see how the Legislature could have solved the problem by

dictating the channels and programs that consumers can purchase individually.

.            Plaintiffs argue that Chapter 308 is underinclusive because it does not apply to other

video providers, such as satellite companies and entities like Sling TV and Hulu+. With respect

to those providers, though, there is nothing in the record suggesting that Maine consumers have

complained about being forced to purchase large packages of channels to watch the few they

want.

                        II. Plaintiffs’ Claims of Irreparable Harm Are Questionable.

             Because there has not yet been discovery, it is difficult to assess the plaintiffs’ claim that

they will suffer irreparable harm if forced to offer channels and programs individually. A few

points warrant comment, though. First, while plaintiffs claim that complying with Chapter 308




16
     The GAO Report also stated:

             The manner in which cable networks are currently packaged has raised concern among policy
             makers and consumer advocates about the lack of consumer choice in selecting the programming
             they receive. Under the current approach, it is likely that many subscribers are receiving cable
             networks that they do not watch. In fact, a 2000 Nielsen Media Research Report indicated that
             households receiving more than 70 networks only watch, on average, about 17 of these networks.

Id, at 31.


                                                            23
would result in violations of agreements between cable operators and programmers, PI Motion,

at 16, the agreements themselves are not in the record. So, for example, it is not known whether

the agreements permit deviation when necessary to comply with state law. Moreover, it is not

clear why the reputation of cable operators would be damaged or why they would face “costly

litigation” if, as a result of a state law, they were involuntarily required to unbundle content.

Second, it is hard to see how giving customers the option of purchasing individual programming

would “frustrat[e] consumer expectations and lead[] to potential customer defections.” PI

Motion, at 17. If subscribers find that the à la carte option is too expensive or confusing, they do

not have to select it. It is doubtful, though, they would be upset at cable operators just for

offering it.

        Third, while plaintiffs claim that it would be extremely difficult and costly to implement

an à la carte system, PI Motion, at 17-19, it should be noted that Comcast already offers a

significant amount of content on an à la carte basis. Subscribers to Comcast have available to

them, through their televisions, a system (“Xfinity On Demand”) by which they can select and

view individual programs from 96 different networks. See Exhibit F. For just one network –

ABC – 37 different programs are available (in both Standard Definition and High Definition

format). See Exhibit G. In some cases, multiple seasons of a program are available – for

example, eleven seasons of “Duck Dynasty” are available. See Exhibit H. 17 Finally, while

plaintiffs claim that they will lose advertising revenues, PI Motion, at 18-19, the FCC’s Further

Report found that under à la carte, there “is little reason to suspect that consumers would watch

less video programming than they do today,” and that “[a]bsent a change in audience levels,



17
  Plaintiffs suggest that customers would incur increased costs and be inconvenienced by having to obtain
“addressable” set-top boxes. PI Motion, at 18. That, though, is a decision for consumers – some consumers may
decide the cost and inconvenience is worth being able to purchase individual content, while others may not.

                                                      24
significant decreases in advertising revenue or increases in licensing fees are unlikely.” Further

Report, at 5.

      III. The Balance of Equities and the Public Interest Militate Against an Injunction

        Chapter 308 was enacted by Maine’s Legislature to protect consumers from being forced

to purchase content they do not want. The 1984 Cable Act expressly authorizes States to enact

consumer protection measures unless expressly preempted and, as discussed above, the Act does

not preempt Chapter 308. Plaintiffs already make significant content available on an à la carte

basis, and their claim of irreparable harm if forced to provide all content à la carte is, at best,

questionable. The Court should not preliminarily enjoin Chapter 308.

Dated: October 7, 2019                                  AARON M. FREY

                                                       Attorney General

                                                       /s/ Christopher C. Taub
                                                       Christopher C. Taub, Asst. Atty. Gen.
                                                       Christopher.C.Taub@maine.gov
                                                       Six State House Station
                                                       Augusta, Maine 04333-0006
                                                       Tel. (207) 626-8800
                                                       Fax (207) 287-3145




                                                  25
                                CERTIFICATE OF SERVICE

       I hereby certify that on this, the 7th day of October, 2019, I electronically filed the above

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

AMY K. TCHAO                                         JOSHUA A. RANDLETT
atchao@dwmlaw.com                                    jrandlett@rudmanwinchell.com

DAVID P. MURRAY                                      JOSHUA A. TARDY
dmurray@willkie.com                                  jtardy@rudmanwinchell.com

EBEN M. ALBERT                                       KRISTIN M. COLLINS
ealbert@bernsteinshur.com                            kcollins@preti.com

ERIN LORRAINE DOZIER                                 MATTHEW A. BRILL
edozier@nab.org                                      matthew.brill@lw.com

JAMES S. BLACKBURN                                   MATTHEW T. MURCHISON
james.blackburn@arnoldporter.com                     matthew.murchison@lw.com

JEFFREY T. PIAMPIANO                                 MELANIE A. MEDINA
jpiampiano@dwmlaw.com                                mamedina@willkie.com

JESSICA L. MAHER                                     MICHAEL D. HURWITZ
 jmaher@mb-law.com                                   mhurwitz@willkie.com

JESSICA L. SABA                                      MICHAEL H. HERMAN
jessica.saba@lw.com                                  michael.herman@lw.com

JOHN C. ULIN                                         OSCAR RAMALLO
john.ulin@arnoldporter.com                           oscar.ramallo@arnoldporter.com

JOHN W. CONWAY                                       PHILIP R. SAUCIER
 jconway@lcwlaw.com                                  psaucier@bernsteinshur.com

RICHARD H. GRIFFIN                                   ROGER R. THERRIAULT
richard.griffin@lw.com                               rtherriault@tlawmaine.com

SALLY J. DAGGETT                                     STEPHEN BLAKE KINNAIRD
sdaggett@jbgh.com                                    stephenkinnaird@paulhastings.com




                                                26
STEPHEN E. F. LANGSDORF        TIMOTHY C. WOODCOCK
slangsdorf@preti.com           twoodcock@eatonpeabody.com

WILLIAM KENNEDY
wkennedy@ddlaw.com


                                /s/ Christopher C. Taub
                                CHRISTOPHER C. TAUB
                                Assistant Attorney General
                                Six State House Station
                                Augusta, Maine 04333-0006
                                Tel. (207) 626-8800




                          27
